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Title:                    Use of Force Issues for 2016 In-Service

Lesson Purpose:                 To complete the POST requirement for annual
                                    Firearms Qualification and Deadly Force and
                                    Constitutional issues

Student Performance               1. Review Ga. Code 17-4-20
Objectives:
                                   2. Review the Columbus Police Department
                                      Deadly Force Policy.
                                   3. Review the Use of Force Continuum and
                                      Officer-Subject Factors.
                                   4. Review Applicable Court Decisions

Hours:                           One

 Instructional Method:           Classroom Lecture, Power Point

 Materials Needed:               Computer and projector

 References:

 Prepared by:                     Tim Wynn, Lt.
                                  Columbus Police Department
                                  Training Division

 Date Prepared:                    January 18, 2016

 Approved By:

 Date Approved:




         |„     EXHIBIT     I
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                                                                        CCG001753
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                    COLUMBUS POLICE DEPARTMENT
                          TRAINING DIVISION
                              IN-SERVICE 2016
                     USE of FORCE and Deadly Force
                       (CONSTITUTIONAL ISSUES)




 Introduction
      Since 2006, the Georgia Peace Officers Standard
                                                           s and Training Council
      required Law Enforcement officers to obtain a mini
                                                           mum standard of 80 %
      for all Qualification scores. This score had to be
                                                         obtained on demand and
      executed between January 1 thru December 31
                                                         of the calendar year. Also
      the Officers were required to receive one (1) hour
                                                           of training on Deadly Force
      Issues annually.


Student Performance Objectives

      Review Ga. Code 17-4-20

      Review the Columbus Police Department Deadly
                                                   Force Policy.
      Review the Use of Force Continuum and Officer-S
                                                     ubject Factors.
      Review Updated information on Excited Delirium
                                                     Syndrome
      Review Applicable Court Decisions

This block of instruction will complete the P.O.S.T.
                                                     requirement for the new firearms
requirement.




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(Handout)
Georgia Law 17-4-20 (b)


 (b) Sheriffs and peace officers who are appointed or employed in conformity with
 Chapter 8 of Title 35 may use deadly force to apprehend a suspected felon only
 when the officer reasonably believes that the suspect possesses a deadly weapon
 or any object, device, or instrument which, when used offensively against a
 person, is likely to or actually does result in serious bodily injury; when the officer
 reasonably believes that the suspect poses an immediate threat of physical
 violence to the officer or others; or when there is probable cause to believe that the
 suspect has committed a crime involving the infliction or threatened infliction of
 serious physical harm. Nothing in this Code section shall be construed so as to
  restrict such sheriffs or peace officers from the use of such reasonable non-deadly
 force as may be necessary to apprehend and arrest a suspected felon or
  misdemeanant.




   Georgia Law has three parts that constitute the Use of Deadly Force.

   What are they?

The ABILITY to cause death or great bodily harm to the Officer or a third
party.

   It means the bad guy has the ability to kill you. If he has ability- YOU
   get ability.

   Question to the class: What qualifies an object as a deadly weapon?

   Second Part

 The OPPORTUNITY to use his ability to cause death or great bodily
 &       Harm.

    It means the bad guy has the opportunity to kill you!
    Third Part

                                                                            CCG001755
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         Jeopardy!! Does the perpetrator make a substan
                                                          tial step towards
        employing his ability and opportunity and actual
                                                         ly place someone
        (yourself or a third person) in JEOPARDY of rec
                                                         eiving death or
        great bodily harm.

         It means the bad guy has placed you or a third
                                                        party’s life in
        jeopar  dy by trying to kill you!

 (Handout)
 The Columbus Police Department’s
                                  Deadly Force Policy.

 DEADLY FORCE
 PURPOSE

 It is the intent of the Columbus Police Departm
                                                   ent to be responsive to, and protect
 the constitutional rights of citizens. The use
                                                of deadly force by employees shall be
 governed by the provisions set forth in Sec
                                                tion 17-4-20 (b), as amended, of the
 Official Code of Georgia Annotated. Deadly
                                               force shall be used only as a last resort,
 and then only to prevent death or serious bod
                                                ily injury to the officer or in the defense
 of others.

 POLICY

It shall be the policy of the Columbus Police
                                              Department to comply with the Georgia
Law and to investigate all instances of the Use
                                                of Deadly Force by members of the
Columbus Police Department.

3-2.1
GENERAL

 Deadly force is defined as that force intended
                                                    to likely cause death or serious bodily
 harm. It includes discharging a firearm in the
                                                       direction of a person, even though
 there is no intent to kill. Deadly force shall nev
                                                     er be used on mere suspicion that a
 crime, no matter how serious, was committ
                                                   ed or that the person being pursued
 committed that crime. Facts unknown to the
                                                    officer at the time of discharge of the
deadly force, by whatever means, cannot
                                                    be considered in later determining
justification for the act. Justification for the use
                                                      of deadly force is limited to the facts
known by the officer at the time he decides to
                                                    employ deadly force.



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3-2.2
AUTHORIZED USE OF DEADLY FORCE
Under OCGA 17-4-20, officers are authorized to use deadly force to apprehend a
suspected felon only under the following circumstances:

A.      The officer reasonably believes that the suspect possesses a deadly weapon
        or any object, device or instrument which, when used offensively against a
        person is likely to or actually does result in serious bodily injury;

B.      When the officer reasonably believes that the suspect poses an immediate
        threat of physical violence to the officer or others; or

C.      When there is probable cause to believe that the suspect has committed a
        crime involving the infliction or threatened infliction of serious physical harm.

3-2.3
UNAUTHORIZED USE OF DEADLY FORCE
The use of deadly force is specifically prohibited under the following conditions;

     To halt the flight of any suspect or prisoner under conditions which do not meet
        the criteria listed in 3-2.2 above

     To affect the arrest of a suspect wanted for a misdemeanor.

3-2.4
DEFINITIONS

     Deadly Force: Any force that is likely to cause death or serious bodily harm.

     Non-deadly Force: Any use of force other than that which is considered deadly
       force.

     Reasonable Belief: The person concerned, acting as a reasonable man
       believes that the described facts exist. (OCGA 16-1.3 16)

     Serious Bodily Injury: A bodily injury that creates a substantial risk of death;
       causes serious, permanent disfigurement; or results in long-term loss of or
       impairment of the functioning of any bodily member or organ.


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Columbus Police Department Use of Force
                                        Continuum
Level One:       Officer Presence

Level Two:       Verbal Commands

Level Three:     Soft Empty Hands

Level Four:      Chemicals

Level Five:      Hard Empty Hands

Level Six:       Impact Tools

Level Seven:     Deadly Force

Again, this has been the traditional way that we
                                                 have looked at the Force
Continuum. Force Options.
Use of Force Diagram

                      Officer                Verbal
                  Presence                       Commands



        Deadly                   Officer                    Soft
      Force
                                                              Empty
                                                             Hands

         Impact                                    Chemicals
           Tools                                 (OC-Pepper-Ball)


                                Hard
                                Empty
                                Hands

                                                                 CCG001758
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While using the old Force Continuum which appeared as a step-by-step
method Officers possibly miss interpreted the Continuum as though they
had to go to each level before using the proper force option. Using the
Force Continuum as a pie and the officer applies which force option
necessary. Each Officer must Articulate the reasons for using the force
they used.


Totality of Circumstances

The Totality of Circumstances is a decision making list of items that help
the officer make quick escalations and de-escalations on the Use of
Force Continuum.

They are divided into two sections- Officer-Subject Factors and Special
Circumstances.

Officer-Subject factors.
Age
Sex
Size
Skill Level
Multiple officers or suspects.


 Special Circumstances
 Close proximity to a firearm
 Special knowledge
 Injury or exhaustion
 Ground position
 Disability

 (Bean Bag engagement range- 30 to 60 feet/Target Area Belt Buckle
 Down excluding the groin and tailbone)
 (OC-1 to 3 second burst.)
                                                                    CCG001759
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 (Taser-engagement distance 7 to 15 feet)


Excited Delirium-is a state in which a
                                             person is in a psychotic and
extremely agitated state. Mentally the
                                           subject is unable to focus and
process any rational thought or focus his
                                           /her attention to any one thing.
Physically the organs within the subject are
                                              functioning at such an excited
rate that they begin to shut down. The
                                          se two factors occurring at the
same time cause a person to act erratic
                                          ally enough that they become a
danger to themselves and to the public.
                                                This is typically where law
enforcement comes into contact with the
                                           person


Essentially three things bring on excited
                                          delirium:
     • Overdose on stimulant or hallucino
                                          genic drugs
     • Drug withdrawl
     • Mental subject who is off of medical
                                            for a significant amount
       of time

Symptoms of Excited Delirium
  • panic
  • paranoia
  • profuse sweating
  • public disrobing
  • self-inflicted injuries
 • shivering
 • shouting
 • bizarre and aggressive behavior
 • dilated pupils



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• fear

• high temps (106-108)

• hiding behind things
• irrational, incoherent speech
  jumping
• seizures
• unexpected physical strength

• violent behavior (general)
• violence towards others
• violence towards objects (glass)
• watch for more than one symptom
   Positional Asphyxia

• The position of the body interferes with the person’s ability to breath.


 • Interference with proper breathing produces an oxygen deficiency


 • Always monitor any subject you have in custody.


 • Beware of Sudden Tranquility


   ***
         Re-emphasis on the what to do Situations

 • Always keep in mind that people that exhibit symptoms and
   behavioral patterns suggesting cocaine psychosis or excited
   delirium they are experiencing a medical emergency. If time allows
                                                                 CCG001761
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       contact EMS before confronting the individ
                                                    ual and attempt to avoid
       confrontation with subject until EMS arrival
                                                    . OFFICER SAFETY
       MUST ALWAYS BE A PRIORITY # 1.
    • Manic depressants taking Lithium will som
                                                etimes discontinue taking
      their meds. These subjects often appear
                                               to be in a state of Excited
      Delirium and may well be.
    • Excited Delirium is regarded as a “medic
                                              al emergency with a
      psychological presentation”
    • BEWARE of SUDDEN TRANQUILITY
    • Try to minimize the appearance of “misha
                                              ndling” suspect.

  (Handout)
  Excited delirium: A challenge for EMS and
                                                   police
  There are a lot of things that make people
                                                 delirious, and we need to find
  out what they are quickly to start mitigating
                                                   the damage
        A. RELATED CONTENT SPONSORED
                                                       BY
 The study, being conducted by Dr. Michae
                                                l Curtis, former EMS medical
 director for Portage County, Wl, is docum
                                               enting cases among seven
 Wisconsin ambulance services whose par
                                                amedics have administered
 the drug ketamine, a potent sedative, to phy
                                                    sically violent individuals
 before transporting them to a hospital. Cu
                                              rtis, an ER physician in Stevens
 Point (Wis.), says more than 50 cases inv
                                               olving agitated and combative
behavior have been noted so far. Roughly
                                                80 percent met the descriptors
for ExDS, he estimates.
Given in the proper dosage, ketamine has
                                                 proven to be “extremely
effective” in sedating almost all of these sub
                                                  jects into a calm, controllable
state within three to five minutes, Curtis told
                                                    FSN, adding that “all
survived with no unexpected adverse sid
                                             e effects.”
The sedation typically sustained for 20-30
                                               minutes — long enough for the
subjects to reach a medical facility where
                                              treatment to reduce their
symptoms could be pursued.

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Many experts believe that rapid calming reduces the extreme
physiological stress caused by an extended struggle with police and
continued agitation after restraint that contribute to the risk of death in
ExDS events. “Moreover, before emergency medical professionals can
deliver a lifesaving treatment, they have to initiate an IV, which is often
impossible until the patient is made calm,” Curtis says.
Traditionally, ketamine has been used as an anesthetic or analgesic
(pain reliever), Curtis explains. But of late, an increasing number of EMS
units in the US have begun injecting it in ExDS subjects and other violent
parties, once police have established sufficient restraint to allow it. The
ideal dosage, Curtis says, appears to be five mg per kg of a subject's
weight (450 mg for a 200 lb. subject, for example). More can be
administered if necessary without dire consequences, he says.
In a recently published paper, a team led by Dr. Jeffrey Ho, a prominent
researcher of in-custody deaths, reports on two cases in which ketamine
was used successfully as part of an ExDS response.
In one case, police were called to handle a 35-year-old chronic
cokehead, partially nude in 11-degree weather, who was acting bizarrely
and trying to enter a closed business. The cops found him raving
nonsensically, “remarkably strong,” and unresponsive to manual
pain-compliance.
Even though eight officers eventually proned him out, he continued to
bang his head on the pavement until an EMS responder delivered a
 500-mg intramuscular injection of ketamine through his clothing and into
 his butt. Within four minutes, he was calm. He arrived alive at a hospital
 and there was “returned to normal” with no negative after-effects.
 In the second case, police responded to a domestic and confronted a
 highly agitated, partly nude 40-year-old B/M with a history of
 schizophrenia and substance abuse. He was screaming requests to
 speak with God and engaged officers in “a significant fight” before he was
 Tasered into submission. The police had wisely summoned EMS early in
 the call, and once the subject was down a medic injected ketamine. This
 subject was calm in about three minutes — “overall success with no
 complications,” Ho writes.


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  “Law enforcement and EMS need to wo
                                           rk together to handle excited
  delirium cases,” Curtis says.
 “Neither can do it alone. Police need to
                                           realize they are dealing with a
 medical/psychiatric emergency, and EM
                                           S needs to be prepared to move
 in quickly and get the subject sedated
                                         immediately and transported by
 ambulance to the ER. For best results,
                                         there has to be a community-wide
 protocol, involving agencies that are not
                                            always accustomed to working
 together.”
 Curtis presented a preliminary report on
                                             the Wisconsin experience and a
 review of professional literature related
                                           to ketamine and ExDS at the
 latest annual conference of the Institute
                                            for the Prevention of In-Custody
 Deaths.

 (Handout)
 Constitutional Case Law
 Court Decisions

Tennessee v. Garner (Fleeing Felon)

 Tennessee v. Gamer, 471 U.S. 1 (1985)
                                              m, was a case in which
the Supreme Court of the United States
                                            held that under the Fourth
Amendment, when a law enforcement
                                          officer is pursuing a fleeing
suspect, he or she may use deadly forc
                                          e only to prevent escape if the
officer has probable cause to believe tha
                                            t the suspect poses a significant
threat of death or serious physical inju
                                         ry to the officer or others.
 In Tennessee v. Garner, we have placed
                                           on the law enforcement
community the burden to make sure tha
                                       t deadly force is in fact justified to
the crime committed, we have placed on
                                         the law enforcement community
the burden to make sure that deadly forc
                                         e is in fact justified to the crime
Garner requirement- in order for an offi
                                         cer (under Garner) to use deadly
force against a fleeing felon:
Deadly Force Defense Standard- The
                                        suspect must threaten the officer
with a weapon or third person.
Fleeing Felon Standard-all three (3) ele
                                          ments must be present

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simultaneously:
The officer must have probable cause to believe that the suspect has
committed a crime involving the infliction or threatened infliction of
serious physical harm;
The use of Deadly Force is necessary to prevent the suspect’s escape
and
(3) the officer must give some warning of the imminent use of
Deadly Force if feasible.


Graham v. Conner
The United States Supreme Court decided in Graham v. Conner that the
officer must consider ‘the reasonableness of the action.’ Furthermore, in
this objective test, the officer cannot use the benefit of hindsight. The
officer must have all the information know at the time of the use of force to
justify a specific use of force.

City of Canton v. Harris
   In this case a woman was arrested and did not receive necessary
medical attention after a shift commander was made aware of her
condition and decided she did not need medical attention. Although on
the face, the City of Canton policy addressed medical issues, they were
grossly negligent in that they did not provide the shift commanders with
the proper training to make such a decisions. There were many issues
that emerged from this case, however, the primary issue was that of “
failure to train” on the part of the city. That negligence amounted to being
“deliberately in different” to the rights of the plaintiff. The implications of
 Canton v. Harris can also go beyond training issues, however, the burden
 of proving the standard of “deliberate indifference” is on the plaintiff and
 not easy to prove.
 Court Recommendation: The duties that officers are assigned to perform
 must be accompanied with adequate training to perform that function.


        ESTATE OF ARMSTRONG V. VILLAGE OF PINEHURST

 C2016 Jack Ryan. Attorney, PATC Legal & Liability Risk Management
                                                                    CCG001765
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 Institute (LLRMI.com)

 In Estate of Armstrong v. Village of Pinehu
                                                   rst et al. the United States
 Court of Appeals for the 4th Curcuit examin
                                                 ed the use of a laser, in the
 drive stun mode, on a mentally impaired sub
                                                  ject and determined that the
 officers unconstitutional excessive force, how
                                                    ever because the law was
 not clearly established at the time of the forc
                                                 e was used, the officers were
 granted qualified immunity and the case aga
                                                    inst the individual officers
 was dismissed.
 The court described the facts as follows:

  Ronald Armstrong suffered from bipo
                                             lar disorder and paranoid
 schizophrenia. On April 23, 2011, he had
                                                    been off his prescribed
  medication for five days and was poking hole
                                                 s through the skin on his leg
 "to let the air out." His sister, Jinia
 Armstrong Lopez ("Lopez"), worried by
                                                   his behavior, convinced
 Armstrong to accompany her to Moore Reg
                                               ional Hospital ("Hospital") in
 Pinehurst, North Carolina. He willingly wen
                                             t to the Hospital and checked
 in, but "[djuring the course of the evaluat
                                                ion he apparently became
frightened and eloped from the [emergency
                                              department]." Based on that
flight and Lopez's report about his odd beh
                                            avior over the previous week,
the examining doctor judged Armstrong a
                                            danger to himself and issued
involuntary commitment papers to compel
                                             his return.Armstrong's doctor
could have, but did not, designate him a dan
                                               ger to others, checking only
the box that reads "[m]entally ill and
                                             dangerous to self on the
commitment form.

The Pinehurst police were called as soon as
                                             Armstrong left the Hospital,
and three members of the department -- all
                                             [defendants] in this case --
responded in short order. Officer Gatling
                                          appeared on the scene first,
followed a minute or two later by Ser
                                          geant Sheppard. Lieutenant
McDonald arrived about ten minutes after She
                                              ppard. Armstrong had not
traveled far when Gatling arrived. He was
                                           located near an intersection
near the Hospital's main entrance.

When the police arrived, Armstrong's commitm
                                               ent order had not yet been
finalized. Therefore, Gatling and Sheppa
                                            rd engaged Armstrong in
conversation. By all accounts, the parties wer
                                               e calm and cooperative at
                                                                  CCG001766
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this point in time.
Armstrong was acting strangely, however. When Officer Gatling first
initiated conversation, Armstrong was wandering across an active
roadway that intersects with the Hospital's driveway. Gatling successfully
convinced him to withdraw to the relative safety of the roadside, but
Armstrong then proceeded to eat grass and dandelions, chew on a
gauze-like substance, and put cigarettes out on his tongue while the
police officers waited for the commitment order.
As soon as they learned that the commitment papers were complete, the
three police officers surrounded and advanced toward Armstrong - who
reacted by sitting down and wrapping himself around a four-by-four post
that was supporting a nearby stop sign. The officers tried to pry
Armstrong's arms and legs off of the post, but he was wrapped too tightly
and would not budge.
 Immediately following finalization of the involuntary commitment order, in
 other words, Armstrong was seated on the ground, anchored to the base
 of a stop sign post, in defiance of the order. The three police officers at
 the scene were surrounding him, struggling to remove him from the post.
 Lopez was in the immediate vicinity as well, along with Jack Blankenship
 and Johnny Verbal, two Hospital security officers. So Armstrong was
 encircled by six people - three
 Pinehurst police officers tasked with returning him to the Hospital, two
  Hospital security guards tasked with returning him to the Hospital, and his
  sister, who was pleading with him to return to the Hospital.
 Appellees did not prolong this stalemate. Nor did they attempt to engage
 in further conversation with Armstrong. Instead, just thirty seconds or so
 after the officers told Armstrong his commitment order was final,
 Lieutenant McDonald instructed Officer Gatling to prepare to tase
 Armstrong. Officer Gatling drew his taser, set it to "drive stun mode," and
 announced that, Armstrong did not let go of the post, he would be tased.
 That warning had no effect, so Gatling deployed the taser - five separate
 times over a period of approximately two minutes. Rather than have its
  desired effect, the tasing actually increased Armstrong's resistance.
  But shortly after the tasing ceased, Blankenship and Verbal jumped in to
                                                                     CCG001767
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 assist the three police officers trying to pull Arm
                                                    strong off of his post. That
 group of five successfully removed Armstro
                                                 ng and laid him face down on
 the ground.
  During the struggle, Armstrong complained
                                                    that he was being choked.
  While no witness saw the police apply any
                                                    chokeholds, Lopez did see
  officers "pull[] his collar like they were choking
                                                      him" during the struggle.
 With Armstrong separated from the pos
                                                 t, Appellees restrained him.
  Lieutenant McDonald and Sergeant Sheppa
                                                    rd pinned Armstrong down
 by placing a knee on his back and standi
                                                 ng on his back, respectively,
 while handcuffs were applied. But even afte
                                                     r being cuffed, Armstrong
 continued to kick at Sergeant Sheppard, so
                                                   the police shackled his legs
 too.
  The officers then stood up to collect thems
                                                   elves. They left Armstrong
  facedown in the grass with his hands cuffed
                                                  behind his back and his legs
  shackled. At this point, he was no longer mo
                                                  ving -- at all. Lopez was the
  first to notice that her brother was unresp
                                                   onsive, so she asked the
  officers to check on him. Appellees did so
                                                immediately, but Armstrong's
  condition had already become dire. When
                                                the officers flipped him over,
  his skin had turned a bluish color and he did
                                                  not appear to be breathing.
  Sergeant Sheppard and Lieutenant McDon
                                                 ald administered CPR, and
  Lieutenant McDonald radioed dispatch to
                                                   send Emergency Medical
  Services ("EMS"). EMS responders tran
                                                 sported Armstrong to the
  Hospital's emergency department where
                                                       resuscitation attempts
 continued but were unsuccessful. He was pro
                                                   nounced dead shortly after
 admission. According to the Pinehurst Police
                                                    Department's summary of
 communications during the incident, jus
                                               t six and one-half minutes
 elapsed between dispatch advising App
                                                    ellees that Armstrong's
 commitment papers were final and Appellees
                                                   radioing for EMS.
 In reviewing the case, the United States
                                              Court of Appeals for the 4th
Circuit did not simply examine whether the
                                              law was clearly established at
the time the force was used on Mr. Armstro
                                               ng, but instead reviewed the
facts to determine first, whether the force use
                                                 d was unconstitutional. It is
noted that in doing so, the court considers
                                                  the facts in the light most
favorable to the Armstrong family becaus
                                              e they are alleging that the

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officer's conduct violated a constitutional right.
The 4th Circuit began its analysis by noting that all uses of force are
judged by the three-part test from Graham v. Connor{\]. Specifically the
court noted that in deciding whether an officer's force was objectively
 reasonable, the court looks at how serious was the offense; the extent to
which the subject poses an immediate threat to the officers or others; and
 whether the subject is actively resisting arrest or attempting to evade
 arrest. Citing a prior 4th Circuit case, the court wrote: "To properly
 consider the reasonableness of the force employed we must view it in full
 context with an eye toward the proportionality of the force in light of the
 circumstances."
In looking at the first factor, "serious of offense", the court wrote that this
factor went in favor of Armstrong because the officers were not arresting
him for a crime but were instead trying to take custody of him for a mental
health commitment. The court noted that even if the officers had
articulated probable cause to arrest Armstrong for resisting their attempt
to take him into custody, the offense would be minor, thus the "serious of
offense" factor would still go in favor of Armstrong.
 The court also took notice of the fact that the officers had notice of two
 factors prior to contact with Armstrong. The court noted that first factor
 was that since Armstrong was the subject of an involuntary commitment
 order, the officers knew he was mentally ill. Thus, the court said that
 among the facts and circumstances that the officers had to consider in
 deciding when and how to use force was Armstrong's mental illness.
  Citing to the United States Court of Appeals for the 9th Circuit the court
 wrote:
 "The diminished capacity of an unarmed detainee must be taken into
 account when assessing the amount of force to be exerted. The
 problems posed by, and thus the tactics to be employed against, an
 unarmed, emotionally distraught individual who is creating a disturbance
 or resisting arrest are ordinarily different from those involved in law
 enforcement efforts to subdue an armed and dangerous individual who
 has recently committed a crime." (citing Bryan v. MacPherson, 630 F. 3d
 805, 829 (9th Cir. 2010) (alteration omitted) (quoting Deorle v. Rutherford,

                                                                     CCG001769
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 272 F.3d 1272, 1282-83 (9th Cir. 2001).

 The court wrote: "Accordingly, 'the use of
                                               officers and others trained in
 the art of counseling is ordinarily advisab
                                               le, where feasible, and may
 provide the best means of ending a crisis.'"
                                                 (citing Deorle). The court did
 recognize that mental illness covers a wide
                                               spectrum of issues and noted
 that the ideal may not always work. The
                                             court directed that even when
 the ideal is not feasible "officers who
                                              encounter an unarmed and
 minimally threatening individual who is exh
                                              ibiting conspicuous signs that
 he is mentally unstable must de-escalate
                                                the situation and adjust the
 application of force downward." (citing
                                             Martin v. City of Broadview
 Heights, 712 F.3d 951, 962 (6th Cir. 2013).

The second factor the officers had notice
                                                 of was that the doctor had
indicated that Armstrong was a danger to
                                                himself. With respect to this
factor the court said that where the purpose
                                                of the seizure is to protect the
person from himself or herself, there is little
                                                government interest in using
force to accomplish the seizure. The court
                                              said that using force to protect
the person against self-harm was contrar
                                               y to the very purpose of the
seizure, which was to protect the person from
                                                    harm.
On the first Graham factor the court held:
                                            "The first Graham factor thus
weighs against the imposition of force.
                                            The government's interest in
seizing Armstrong was to prevent a me
                                             ntally ill man from harming
himself. The justification for the seizure,
                                            therefore, does not vindicate
any degree offeree that risks substantial har
                                              m to the subject."
The court then looked to the second and thir
                                               d Graham factor, particularly
whether Armstrong posed an immediate thre
                                                 at to the officers or anyone
else or whether he resisted the seizure
                                             . The court found that since
Armstrong was wandering in the area of an
                                              active roadway and may have
tried to flee into the street to avoid being
                                             returned to the hospital, some
degree of force would be justified to secure
                                               him. The court wrote that the
amount of force justified would be the am
                                                ount of force necessary to
prevent Armstrong's flight.

The court noted several factors affecting the
                                               use offeree decision. First,
the court noted that Armstrong, who was
                                           5'11" and 262 lbs., was seated
and clinging to a pole refusing to move whe
                                             n the officers decided to use

                                                                  CCG001770
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the TASER in the drive-stun mode. The court pointed out that an officer
cannot use much force to prevent a subject from fleeing, if the subject, at
the moment the force is used, is refusing to move.
The court did note that Armstrong was resisting by refusing to let go of the
pole he clung to for the 30 seconds that officers tried to remove him. The
court asserted: "Non-compliance with lawful orders justifies some use of
force, but the level of justified force varies based on the risks posed by
the resistance." (citing Bryan). The court then described "Armstrong was
stationary, non-violent, and surrounded by people willing to help return
him to the Hospital." The court concluded that Armstrong's
non-compliance posed little danger or urgency since he merely clung to
the pole in a seated position and refused to let go.
The court then moved to look at the force from a proportionality analysis
and concluded that the degree of force used, the drive stun TASER
deployment was disproportionate to the need for force when dealing with
a stationary, mentally impaired subject, who was hanging on to a pole
while six people, including officers and hospital personnel stood by to
take him into custody. As such the court found that the force was
objectively unreasonable. The court wrote: "Immediately tasing a
non-criminal, mentally ill individual, who seconds before had been
conversational, was not a proportional response."
The court then turned to TASER as a use of force. Without distinguishing
the difference between the drive-stun and a probe deployment and citing
cases involving both types of use, the court asserted that, "Deploying a
TASER is a serious use of force."
 The court in analyzing, utilized suggested practices and materials from
 TASER International in determining whether TASER use under
 circumstances faced by these officers was reasonable:
 These observations about the severe pain inflicted by tasers apply when
 police officers utilize best practices. The taser use at issue in this case,
 however,      contravenes       current    industry   and     manufacturer
 recommendations. Since at least 2011, the Police Executive Research
 Forum ("PERF") and the Department of Justice's Office [*21] of
 Community Oriented Policing Services ("COPS") have cautioned that
                                                                    CCG001771
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  using drive stun mode "to achieve pain complia
                                                     nce may have limited
 effectiveness and, when used repeatedly, may
                                                       even exacerbate the
 situation." PERF & COPS, 2011 Electronic Control
                                                        Weapon Guidelines,
 at 14 (March 2011) (emphasis omitted). The orga
                                                        nizations, therefore,
 recommend that police departments "carefully
                                                       consider policy and
 training regarding when and how personnel use
                                                      the drive stun mode[]
 and . . . discourage its use as a pain compliance
                                                         tactic." Id. In 2013,
 moreover, laser International, the manufacturer
                                                     of the taser Appellees
 used in this case, warned, "Drive-stun use may
                                                        not be effective on
emotionally disturbed persons or others who may not
                                                         respond to pain due
to a mind-body disconnect." Cheryl W. Thompson
                                                      & Mark Berman, Stun
guns: 'There was just too much use.' Wash. Post,
                                                       Nov. 27, 2015, at A1.
Taser users, the warning goes on, should "[a]v
                                                        oid using repeated
drive-stuns on such individuals if compliance is not
                                                         achieved." Id. Even
the company that manufactures tasers, in othe
                                                      r words, now warns
against the precise type of taser use inflicted on Arm
                                                        strong.
The court wrote: "Our precedent, consequently,
                                                    make clear that tasers
are proportional force only when deployed in resp
                                                      onse to a situation in
which a reasonable officer would perceive some
                                                    immediate danger that
could be mitigated by using the taser." The cou
                                                    rt noted that in cases
where an officer uses more than one deployment,
                                                      each deployment will
be viewed separately and its validity will be dete
                                                        rmined by what is
occurring at the moment of each deployment.
 The court reached a conclusion that "taser use is
                                                       unreasonable force in
 response to resistance that does not raise the risk
                                                       of immediate danger.
 In doing so the court wrote: Our precedent leads to
                                                        the conclusion that a
police officer may only use serious injurious force,
                                                        like a taser, when an
objectively reasonable officer would conclude that
                                                           the circumstances
present a risk of immediate danger that could be
                                                      mitigated by the use of
force. At bottom, 'physical resistance' is not [the sam
                                                        e thing as the] 'risk of
immediate danger.'"
The court found that because Armstrong did not
                                                      present a threat to the
officers as he sat clinging to the pole, the use offe
                                                     ree was excessive and
thus the officers were denied summary judgmen
                                                         t. The court then
concluded that because the law was not clearly esta
                                                          blished at the time

                                                                   CCG001772
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that Anderson was subjected to the TASER deployment, the officers were
not on notice that their actions were improper, thus they were granted
qualified immunity and dismissed from the lawsuit.
Although the officers were dismissed from this lawsuit, the United States
Court of Appeals set significant restrictions on the use of the TASER
prospectively. Agencies within the 4th Circuit's jurisdiction are now on
notice of the restrictions on TASER as well as the court's analysis on use
of force with respect to persons of diminished capacity, particularly those
that are not subjected to arrest, but rather are to involuntary committed.
Agencies within the 4th Circuit's jurisdiction must review policy and
training related to TASER, Use of Force, and Persons of Diminished
Capacity to ensure compliance with this decision.
Factors for all officers and agencies to consider:
  1. Not an arrest-mental health commitment-"When the subject of a
     seizure has not committed any crime, this [seriousness of offense]
     factor weighs heavily in the subject's favor."
   2. Among the facts and circumstances an officer has to consider in
      deciding when and how to use force is the fact, when known, that
      the subject if mentally ill, particularly if the subject is unarmed.
   3. "Officers who encounter an unarmed and minimally threatening
      individual who is exhibiting conspicuous signs that he is mentally
      unstable must de-escalate the situation and adjust the application of
      force downward."
   4. When the purpose of taking custody is to protect a person from
      harming him or herself, any force that causes harm is contrary to the
      mission of protecting the person.
    5. An officer who is trying to prevent a subject from fleeing cannot use
       much force if the subject is refusing to move.
    6. "Non-compliance with lawful orders justifies some use offeree, but
       the level of justified force varies based on the risks posed by the
       resistance."


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 7. Proportionality analysis-How much force was
                                                used in relation to
    what the subject was doing?
8. "Deploying a TASER is a serious use of force."
9. "lasers are proportional force only when deploye
                                                     d in response to a
   situation in which a reasonable officer wou
                                                    ld perceive some
   immediate danger that could be mitigated by usin
                                                     g the laser."
10.      The court noted that in cases where an officer use
                                                            s more than
   one TASER deployment, each deployment will be
                                                     viewed separately
   and its validity will be determined by what is
                                                      occurring at the
   moment of each deployment.
11.    Use of TASER is unreasonable in response to resi
                                                        stance that
  does not raise a risk of immediate danger.
12.    '"Physical resistance’ is not [the same thing as the]
                                                             'risk of
   immediate danger."
13.     "Our precedent leads to the conclusion that a poli
                                                           ce officer may
  only use serious injurious force, like a taser, whe
                                                       n an objectively
  reasonable officer would conclude that the circums
                                                      tances present a
  risk of immediate danger that could be mitigate
                                                      d by the use of
  force."
14.      Court notes that while subject clung to pole and
                                                                 refused to
   move, officers were not faced with any exigenc
                                                         y or "immediate
   danger so severe that the officer" had to cau
                                                         se harm to the
   individual he or she was trying to protect from harm
                                                          .
15.      Note: Court holdings can vary significantly betw
                                                             een
  jurisdictions. As such, it is advisable to seek the
                                                        advice of a local
  prosecutor or legal adviser regarding questions on
                                                          specific cases.
  This article is not intended to constitute legal adv
                                                       ice on a specific
  case.

  CITATIONS:
  [i] Graham v. Connor, 490 U.S. 386 (1989).



                                                               CCG001774
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                            Mullenix v. Luna

In Mullenix v. Luna, the United States Supreme Court reviewed a
high-speed chase where a trooper, from the Texas Department of Public
Safety shot into the fleeing vehicle from an overpass in an attempt to
disable the vehicle. In doing so he shot the driver four times in the upper
body killing him.
Held: The law is not clearly established as to whether Trooper Mullenix's
shooting at a fleeing vehicle, where the driver had threatened to shoot
police officers; was possibly intoxicated; and led law enforcement on a
one hundred mile an hour chase, was unconstitutional.
The Court outlined the facts as follows:
On the night of March 23, 2010, Sergeant Randy Baker of the Tulia,
Texas Police Department followed Israel Leija, Jr., to a drive-in
restaurant, with a warrant for his arrest. When Baker approached Leija's
car and informed him that he was under arrest, Leija sped off, headed for
Interstate 27. Baker gave chase and was quickly joined by Trooper
Gabriel Rodriguez of the Texas Department of Public Safety (DPS). Leija
entered the interstate and led the officers on an 18-minute chase at
speeds between 85 and 110 miles per hour. Twice during the chase, Leija
called the Tulia Police dispatcher, claiming to have a gun and threatening
to shoot at police officers if they did not abandon their pursuit. The
dispatcher relayed Leija's threats, together with a report that Leija might
be intoxicated, to all concerned officers.
As Baker and Rodriguez maintained their pursuit, other law enforcement
officers set up tire spikes at three locations. Officer Troy Ducheneaux of
the Canyon Police Department manned the spike strip at the first location
Leija was expected to reach, beneath the overpass at Cemetery Road.
Ducheneaux and the other officers had received training on the
deployment of spike strips, including on how to take a defensive position
so as to minimize the risk posed by the passing driver. DPS Trooper
                                                                     CCG001775
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   Chadrin Mullenix also responded. He dro
                                                   ve to the Cemetery Road
   overpass, initially intending to set up a spike
                                                   strip there. Upon learning of
   the other spike strip positions, however, Mul
                                                         lenix began to consider
   another tactic: shooting at Leija's car in order
                                                        to disable it. Mullenix had
   not received training in this tactic and had not
                                                       attempted it before, but he
   radioed the idea to Rodriguez. Rodriguez
                                                       responded "10- 4," gave
  Mullenix his position, and said that Leija had
                                                   slowed to 85 miles per hour.
  Mullenix then asked the DPS dispatcher
                                                      to inform his supervisor,
  Sergeant Byrd, of his plan and ask if Byr
                                                       d thought it was "worth
  doing." Before receiving Byrd's response,
                                                    Mullenix exited his vehicle
  and, armed with his service rifle, took a
                                                      shooting position on the
  overpass, 20 feet above I- 27. Respondents alle
                                                         ge that from this position,
  Mullenix still could hear Byrd's response to
                                                     "stand by" and "see if the
  spikes work first." As Mullenix waited for Leij
                                                    a to arrive, he and another
  officer, Randall County Sheriff 's Deputy
                                                    Tom Shipman, discussed
 whether Mullenix's plan would work and how
                                                         and where to shoot the
 vehicle to best carry it out. Shipman also info
                                                    rmed Mullenix that another
 officer was located beneath the overpass. App
                                                        roximately three minutes
 after Mullenix took up his shooting position,
                                                    he spotted Leija's vehicle,
 with Rodriguez in pursuit. As Leija approache
                                                       d the overpass, Mullenix
 fired six shots. Leija's car continued forward ben
                                                        eath the overpass, where
 it engaged the spike strip, hit the median, and
                                                    rolled two and a half times.
 It was later determined that Leija had been kille
                                                      d by Mullenix's shots, four
of which struck his upper body. There was
                                                       no evidence that any of
Mullenix's shots hit the car's radiator, hood, or
                                                     engine block.
Respondents sued Mullenix under Rev. Stat
                                                 . §1979, 42 U. S. C. §1983,
alleging that he had violated the Fourth Amend
                                                       ment by using excessive
force against Leija. Mullenix moved for summar
                                                      y judgment on the ground
of qualified immunity, but the District Court den
                                                    ied his motion, finding that
"[tjhere are genuine issues of fact as to whe
                                                  ther Trooper Mullenix acted
recklessly, or acted as ]a reasonable, trained
                                                      peace officer would have
acted in the same or similar circumstances."

Mullenix appealed, and the Court of Appeals
                                                   for the Fifth Circuit affirmed.
The court agreed with the District Court that
                                                     the "immediacy of the risk
posed by Leija is a disputed fact that a reason
                                                    able jury could find either in
the plaintiffs' favor or in the officer's favor, pre
                                                     cluding us from concluding
                                                                     CCG001776
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that Mullenix acted objectively reasonably as a matter of law." (Cites
Omitted)
    NOTE: An Explanation of Summary Judgment and Qualified
                            Immunity
Whenever there is a lawsuit based upon an allegation that an officer has
committed a Constitutional Violation such as excessive force as an
unreasonable seizure of the person under the 4th Amendment, two legal
strategies are used to defend the officer and have the case thrown out
before it ever gets to trial.
The first strategy is Summary Judgment. In a summary judgment
motion, the attorney for the officer asserts that even if the court takes the
story of the person suing the officer as true, [though the officer may not
agree with that story], the officer did not do anything unconstitutional and
the officer is entitled to summary judgment. I sometimes refer to
summary judgment as a green light as it is the court's agreement that the
officer's actions were constitutional.
In some cases a court will disagree and say that the officer's actions
under plaintiff's story would be unconstitutional. The officer's lawyer then
proceeds to the second strategy, Qualified Immunity. Essentially,
qualified immunity means that even if the officer's actions are
unconstitutional no court that has jurisdiction over the officer has
considered a similar case and therefore the law was not clearly
established, thus an officer would not know that he or she was acting
 unconstitutionally. In cases where the law is not clearly established, the
 officer gets Qualified Immunity and the case against the officer is
 dismissed.
 In some cases, the courts skip the first question (Summary Judgment)
 and do not decide whether the officer's actions were constitutional or
 not. The court simply proceeds to the second question and determines
 that the law is not clearly established and dismisses the constitutional
 claim brought against the officer.
                              Back to the Case

 The United States Supreme Court decided not to answer the Summary
                                                                     CCG001777
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 Judgment question in this case. Thus, it was
                                               not decided whether it was
 constitutional to shoot from an overpass at
                                              a fleeing vehicle under the
 circumstances faced by Trooper Mullenix.
 The Court did decide that the law was not
                                              clearly established and
 therefore Trooper Mullenix was granted qua
                                             lified immunity and the
 Fourth Amendment claim against him was dism
                                             issed.
    In finding that the law was not clearly establishe
                                                          d the Court noted:
   In this case, Mullenix confronted a reportedly
                                                       intoxicated fugitive, set on
   avoiding capture through high-speed vehicular
                                                       flight, who twice during his
   flight had threatened to shoot police officers
                                                      , and who was moments
   away from encountering an officer at Cem
                                                     etery Road. The relevant
   inquiry is whether existing precedent placed
                                                   the conclusion that Mullenix
   acted unreasonably in these circumstance
                                                     s "beyond debate." The
  general principle that deadly force requires
                                                        a sufficient threat hardly
  settles this matter. See Pasco v. Knoblauch,
                                                       566 F. 3d 572, 580 (CAS
  2009) ("[l]t would be unreasonable to expect
                                                    a police officer to make the
  numerous legal conclusions necessary to app
                                                       ly Garner to a highspeed
  car chase . . ."). Far from clarifying the issu
                                                      e, excessive force cases
  involving car chases reveal the hazy lega
                                                    l backdrop against which
 Mullenix acted. In Brosseau itself, the Court
                                                     held that an officer did not
 violate clearly established law when she shot
                                                   a fleeing suspect out of fear
 that he endangered "other officers on foot who
                                                       [she] believed were in the
 immediate area," "the occupied vehicles in
                                                   [his] path," and "any other
 citizens who might be in the area." The threat
                                                     Leija posed was at least as
 immediate as that presented by a suspect who
                                                      had just begun to drive off
and was headed only in the general direction
                                                    of officers and bystanders.
By the time Mullenix fired, Leija had led poli
                                                     ce on a 25-mile chase at
extremely high speeds, was reportedly intoxica
                                                      ted, had twice threatened
to shoot officers, and was racing towards an
                                                  officer's location.
This Court has considered excessive force
                                                    claims in connection with
high-speed chases on only two occasions
                                                 since Brosseau. In Scott v.
arris, 550 U. S. 372, the Court held that an
                                                     officer did not violate the
Fourth Amendment by ramming the car of
                                                   a fugitive whose reckless
driving "posed an actual and imminent thre
                                                        at to the lives of any

                                                                     CCG001778
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pedestrians who might have been present, to other civilian motorists, and
to the officers involved in the chase." Id., at 384. And in Plumhoff v.
Rickard, 572 U. S.      (2014), the Court reaffirmed Scott by holding that
an officer acted reasonably when he fatally shot a fugitive who was "intent
on resuming" a chase that "pose[d] a deadly threat for others on the
 road." 572 U. S., at    (slip op., at 10).

The Court has thus never found the use of deadly force in
connection with a dangerous car chase to violate the Fourth
Amendment, let alone to be a basis for denying qualified immunity.
Leija in his flight did not pass as many cars as the drivers in Scott or
Plumhoff; traffic was light on 1-27. At the same time, the fleeing fugitives
in Scott and Plumhoff had not verbally threatened to kill any officers in
their path, nor were they about to come upon such officers. In any event,
none of our precedents "squarely governs" the facts here. Given Leija's
conduct, we cannot say that only someone "plainly incompetent" or who
"knowingly violate[s] the law" would have perceived a sufficient threat
 and acted as Mullenix did. (Cites Omitted/Emphasis Added).
 The Court rejected an argument forwarded by the dissent that officers
 should have waited and tried spike strips. In doing so the Court noted the
 danger to officers in utilizing spike strips.
 In an interesting concurring opinion, Justice Scalia indicated that he
 would not consider the shooting at a vehicle to disable the vehicle as
 deadly force even where the shooting results in the death of the
 driver. Justice Scalia said the question for the Court should have been
 whether it was reasonable to try and disable the vehicle by shooting at it
 in light of the conduct of Leija rather than an inquiry as to whether or not
 deadly force was justified.


 Note: Court holdings can vary significantly between jurisdictions. As such, it is advisable to seek the
 advice of a local prosecutor or legal adviser regarding questions on specific cases. This article is not
 intended to constitute legal advice on a specific case.




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 Georgia Code 17-4-20 (b)

 The Georgia Code is very simple and clear about
                                                 the use of deadly force.
 It Clearly spells out the . . .

Ability, Opportunity, and Jeopardy.

CPD Deadly Force

Our department policy is taken directly from the
                                                 Georgia Code section
17-4 20 (b) and follows closely the Georgia Cod
                                                 e.
Look at the Force Continuum (Force Options)

Reviewed Less lethal engagement distances

Defined and Reviewed Excited Delirium and sym
                                              ptoms
Discussion and Review of Case law

Use of Force has become a Hot Button Topic in
                                                   the media and public as
of late. Police are scrutinized in every action or
                                                   decision they make as it
relates to Use of Force. These force options are
                                                   the backbone to survival
in certain situations. Lack of preparation, in our
                                                   profession, can cost you
your livelihood as well as your life.

Are there any questions?


Test Questions

    1. The three things that justify Deadly Force is
      A. Ability, justification, fear
      B. Ability, justification, fear
      C. opportunity, Jeopardy, protecting others
      D. Ability, Opportunity, Jeopardy


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2. What is the State Code for Deadly Force
   A. 17-4-20(b)
   B. 16 4-20(b)
  C. 40-5-209(c)
  D. 20-5.3

3. What are symptoms of Excited Delirium
  a. Bizarre and aggressive behavior, fear
  b. High Body Temperature, jumping into water
   c. irrational, incoherent speech
   d. panic, paranoia, public disrobing, profuse sweating
   e. all of the above

4. ________________ is the case law that deals with Reasonable
   Officer. Ex. What would a Reasonable Officer do in similar or like
   situation.

5. What is the optimal engagement distance when deploying the
   Bean Bag Gun to stop a combative individual.
   a. Point blank
   b. 10-15 feet
   c. 30-60 feet
   d. 70-80 feet

 6. What is the optimal engagement distance with the laser.
    a. point blank
    b. 20-25 feet
    c. 15-20 feet
    d. 7-15 feet
 7. What is the targeted area for the Bean Bag Gun
   a. center mass
   b. belt buckle down excluding the groin and the tailbone
   c. buttocks
    d. head
    e. both b. and c.



                                                               CCG001781
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Excited Delirium-is a state in which a perso
                                                     n is in a psychotic and extremely agitated
state. Mentally the subject is unable to focus and
                                                    process any rational thought or focus his/her
attention to any one thing. Physically the organ
                                                 s within the subject are functioning at such an
excited rate that they begin to shut down. These
                                                   two factors occurring at the same time cause
a person to act erratically enough that they beco
                                                  me a danger to themselves and to the public.
This is typically where law enforcement comes into
                                                    contact with the person




Essentially three things bring on excited delirium:



      •   Overdose on stimulant or hallucinogenic drug
                                                        s
      •   Drug withdraw!
      •   Mental subject who is off of medical for a sign
                                                          ificant amount       of time

Symptoms of Excited Delirium

       panic
       paranoia
       profuse sweating
       public disrobing
       self-inflicted injuries
       shivering
       shouting
       bizarre and aggressive behavior
      dilated pupils
      fear
      high temps (106-108)
      hiding behind things
      irrational, incoherent speech
     jumping
     seizures
     unexpected physical strength
     violent behavior (general)
     violence towards others
     violence towards objects (glass)
     watch for more than one symptom




                                                                                   CCG001782
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        Positional Asphyxia

•       The position of the body interferes with the person’s ability to breath.

•       Interference with proper breathing produces an oxygen deficiency (hypoxia) in
        the blood which disturbs the body's chemistry and can create a condition for fatal
        rhythm disturbance in the heart.

        **** AGAINST CPD POLICY****


•       Hog tie on suspects with diminished capacity considered excessive force in Sec.
        1983 action.
•       Court’s understanding is that a hog tie is binding legs to hands with 12 inches or
        less of separation.
•       Applying this technique when a subjects diminished capacity is apparent is
        unreasonable.

           Re-emphasis on the what to do Situations

    •   Always keep in mind that people that exhibit symptoms and behavioral patterns
        suggesting cocaine psychosis or excited delirium they are experiencing a
        medical emergency. If time allows contact EMS before confronting the individual
        and attempt to avoid confrontation with subject until EMS arrival.
    •   Manic depressants taking Lithium will sometimes discontinue taking their meds.
        These subjects often appear to be in a state of Excited Delirium and may well be.
    •   Excited Delirium is regarded as a “medical emergency with a psychological
        presentation”
    •   BEWARE of SUDDEN TRANQUILITY
    •   Try to minimize the appearance of “mishandling” suspect.




                                                                                   CCG001783
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Defensive Tactics: Sudden
    In-custody Death

                      Head Instructor
                     Michael Skinner
                Columbus Police Department
                      706-225-4122
                    mskinner@columbusga.org

                      Defensive Tactics: In-custody Death        CCG001784
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Terminal Performance Objective


 Upon completion of classroom instruction,
 the student will identify core concepts
 associated with the identification and
 prevention of sudden in-custody deaths.



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                Enabling Objectives
 • The student will be familiar with the history
   sudden in-custody deaths.                       of
 • The student will be familiar with recent court
   decisions regarding sudden in-custody death
                                                    s.
• The student will identify the behavioral cues
   individual that is considered high risk for a suof an
   in-custody death.                                 dden
• The class will discuss the contemporary the
   regarding sudden in-custody deaths.             ories
• The student will list five action steps to fol
   when dealing with an individual that is cons low
   high risk for a sudden in-custody death.       idered

                                                                     CCG001786
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                       Reasons...
• Patrol officers need a basic level of knowledge
  concerning recent sudden in-custody death trends.
• This does not require professional medical
  training.
• Training consists of recognizing behavioral cues.
• Early recognition of these cues will help you take
  appropriate action.
• Early appropriate action will help to minimize the
  negative impact a sudden in-custody death could
  have on yourself and the agency as a whole.

                                                                    CCG001787
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     History of Sudden In-Custody
                 Death
• The concept of sudden death is not new.
• The first report on sudden ICD was written
  by an Italian physician, Dr. Lancisi in 1761.
                                                                    Mi:':
• Sudden ICD was first discussed in the U.S.
  in 1849 by Dr. Luther Bell.                                       Hk
• The WHO defines “sudden death” as a
  cardio respiratory collapse within one hour                       ;
  of symptoms.                                                                  m
                                                                               is

• “Sudden in-custody death” can be defined                                      Ms


  as any unintentional death that occurs                            -

  while the subject is in police custody.                                AjA. '*          _
                                                                    >-«•'; •
                                                                                     S'
                                                                                     1


                                                                         CCG001788
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    Recent History of Sudden In-
          Custody Death
• Recently, much attention has been given
  to electronic control devices (lasers                 j
                                                                           L+*$
  stingers, stun guns, etc.)                                           i
                                                                                  ' Vy

• Many media outlets make sudden ICD
  sound like a new issue.                                          «               &
• Just think back to the 80’s and 90’s and                        TA8ER
                                                                                  Vs



  substitute two other defensive tools for
   ECDs. (OC spray and choke holds)
• In the 80’s and 90’s these tools were
   blamed for sudden ICDs even though no
                                                                              I
   medical evidence supported the                                                      5

   accusations.

                                                                     CCG001789
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              Inner v. Outer Circle


• Inner Circle

• Outer Circle

                  Us against them?


                                                                    CCG001790
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       Why So Much Attention?
• Blame Others
                                                                imemi* A                                 %
                                                                        it
                                                                       i -           11 *

• Technology                                     .   ».   ■
                                                                i'     < •* «.          *   ■
                                                                                                M




                                                                                 #V                 i             ;
                                                                  m              f




• Lost in Translation                       i' V v •

                                                                             1                      iv ;.'    •

                                                                                                              *;
                                            a        ' J#s-
                                                              Chris                  Kristine                ({-ff
                                                              Wrajgp                 Johnson                         ;i.
• Officer Dies?                                                                        ■ ■«a»fesi: 3:24’ar-




                                                                                                CCG001791
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                 Negative Lifestyle
• Negative lifestyle choices
  greatly raise the risk of an                                                                                 ■'HH:
  sudden ICD.                                                                               >1:
                                                                                                                •8tP
                                                                                                      :
• Non-lethal dose of                                                                         Wm
                                                                                                  ifty-




  cocaine?
• Cocaine is stored in the                               5                            K-;
                                                                                                           14

  body and can ki I after the                      ■ .'i'M
                                                             !'V.„    . ""

                                                                     . f>

  initial use period.                                                        ;>

• When alcohol is mixed with                                                      ■




                                                                                      m,},-..                    m     4

  cocaine, the risk of a
  sudden ICD is increased by                                                                              .■




  18 times.
• Cocaine abuse can lead to
  “excited delirium”.
                                                                                      CCG001792
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                “Excited Delirium”
• Excited delirium is also sometimes
  called agitated delirium.                                         fi‘                 *f ' w'n
                                                                                              ;■
                                                                                                    r

• Terms can be used interchangeably.
                                                                                                     i
• Caused by chronic stimulant use and                                               M.
                                                                                                     %
  abuse.
• Cocaine induced excited delirium can                                        I4
                                                                              kmm
  cause a person to act bizarre and                                                1
  violent.
• Occurs in four parts: hyperthermia                            m
  delirium w/ agitation, respiratory                                      i                        nm
  arrest, and death.                                    ■   ■   T                                  li.
• These parts will be discussed in
  more detail later in the training.
                                                                                       CCG001793
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Recent Court Decisions Regarding
         Sudden ICDs
• Ashworth v. Round
  Lake Beach Police                          m
                                                       •m
  Department (2005)                         111                            '   ■




                                                     ■ '"'S

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                                            mm
                                                                    L™



• Watkins v. New Castle
  County (2005)                                           T6te^:-




                                                                         CCG001794
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Recent Court Decisions Regarding
         Sudden ICDs
• Cruz v. City of Laramie
  (2001)                                                                                   4- ** »


                                                                          1:

• Gutierrez v. City of
  San Antonio (1998)                                 SKsiiSr;.
                                                                                           •;
                                                                                           fM

                                               fir
                                                              S’

                                           ^         W
                                                             IL*.   'll


• Abdullahi v. City of
  Madison (2005)
                                                                               CCG001795
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               Indicators of ICD

• Pre-disposing Factors

• Physical Characteristics

• Behavioral Cues.


                                                                    CCG001796
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        Pre-Disposing Factors
• The person is obese
• The Person has an enlarged                                    *
                                                                    Wes
  Heart
• The person has coronary                                                 Mm
  atherosclerosis.
                                                                    ■ • • f?

                                                                            mm                                        w.   ■■■   :




• The person has myocarditis                                                                                          K-
                                                                                                                      mm
  (inflamed heart).                                        %i             Hypertrophic cardiomyopathy

                                                                                       fieait


• The person has a fibrotic
                                                                            iiuiicitatliikii!

                                                                                                                                     n
  heart (scar tissue around the                                                                       .SiI:1)KI
                                                                                                    vwiiHcdiii
                                                                                                       nHS»:fe


  heart).                                                                                                         i
                                                                                     t?                               mui J
• The person has a large heart
                                                                      v

                                                                      ^Wk
                                                            1!; 1 %                               ofvoariajbi


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                                                                                                             m
                                                                               CCG001797
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         Pre-Disposing Factors
• The person has small vessel
  wall thickening.                                                     :
                                                                           l
• The person is under the                                        r

  influence of alcohol or in                                     (U;
                                                                                       bl'

  withdrawal.                                              p.”


                                                                           Mm
                                                                                                   fiV'


                                                                                               1
• The person is under the                                                  Kil
  influence of illegal drugs.
• The person failed to take
  their prescription drugs.
• The weather is hot, humid.
• The person is dehydrated                                                                 I




                                                                               CCG001798
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       Pre-Disposing Factors
• The person is hypoglycemic (low
  blood sugar).
• The person has an underlying
  psychiatric disease.
• The person has hyperthyroidism (over
  active thyroid).
• The person has a head injury (e.g.,
  concussion).

                                                                  CCG001799
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       Physical Characteristics
                                                                                 JSffl
• Dilated pupils                                                               Be iiiiisiii


                                                                                                                                  ■m
                                                                                                                              )        *i
                                                                                                                                  ; ;i
• High body temperature-                                                                   W2-i                           wMm
                                                               Ww
  hyperthermia                                                            i'")'Ar*

                                                          ;                                       : 4. -1 ^ ^                     . S:;:.v

                                                         ; 1                   P“


• Sweating profusely                                                             ’f-
                                                                                 W",/
                                                                                              .    .J




                                                                                                                          1
                                                               i
                                                                                                                I/:   I
• Skin discoloration                                               '*>;» . .
                                                                f ■ '%i.i
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                                                                                                            J         i
                                                                                              CCG001800
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               Behavioral Cues
• Demonstrates intense
                                                       W
  unreasonable paranoia.                         i'f
                                                              '4
                                                                        A




• Extremely agitated.                                   XJ«H^
                                                                                                        n
                                                                                                            |F   .4
• Demonstrates violent or                               ..■■"Ofe         •



  bizarre behavior.                                                                          j,   .*
                                                                                                            ¥



• Violence towards
  inanimate objects            5
                                                                        Li',-.   i|V              MVpm
  especially glass, mirrors                 5                                                J, -
  or shiny objects.
                                                 r"**.»*4#*



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                                                                   :V ^
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                                                                                                  CCG001801
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                Behavioral Cues
• Running, or running
  wildly.
• Screaming.                                           St&jL


                                                      1®
• Uses pressured, loud
  incoherent speech.
                                    5       mm#
                                                  m
                                                  m
                                                    m                faipssi
                                                                     i®         *

• Naked or stripping off
  clothing.
• Psychotic in appearance                                              '•1
• Rapid changes in
  emotions.                                 1                        y®;

                                            L,                 1:.

                                                                             CCG001802
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                 Behavioral Cues
• Disoriented about place                             :                                        1
                                                                                               a
  time, purpose, and even
                                      J



                                                          m
                                                           vMmw ™               'wl




  himself/herself.                                        1*4                         5^5
• Great, even superhuman                                            P »/. S'-


                                                                                                    /
  strength.
• Muscle rigidity.                                                                            m
• Diminished or is
  insensitive to pain.
                                                     HT '
                                                                                              *■'   -   ■




• Hallucinations.                                               t   ^z ‘                 • A




• Violently resists control or
  restraint techniques.                                                                         4.
                                                                                v:.,:
                                                                                imm     U'a



                                                                                CCG001803
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                        Got Vids?




                                                               CCG001804
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                    Metabolic Acidosis
• Stimulant use causes                           Extreme Exert!
  vasoconstriction.                   / Muscle Weakness S> 'iMiK
• Lactate builds up during fight or
  fight.
• Because of vasoconstriction the
   actate can’t escape.               eart02 Demand
                                                                          11311 * i]j
  This keeps the subject from being        Increase         ritr
  able to rid themselves of C02 and                                (

  hyperthermia.                                                                           f1
• Research shows that profound                        I;              i
  metabolic acidosis can lead to       £11®]              T
                                                               ii/ fir*
                                                               r*i
                                                               m m Ji
                                                                                     ri



  cardiac arrest.                       *1
                                                      .
                                                      V!
                                                        .
                                                                 ' i II
                                                              It] lli'
• “Excited delirium” subjects may not®                        ■fc-.-'S
                                                            ,IK '■»
  recognize the normal cues of                              ASi        n<
  exhaustion and continue to resist. ■                                          :[



                                                                           m
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     The Five Types of Asphyxia
• Positional asphyxia

• Postural asphyxia

• Mechanical asphyxia

• Compression asphyxia

• Restraint asphyxia
                                                                   CCG001806
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Never place a person in any position that
restricts the subject’s ability to breathe
freely. You must always monitor anyone in
your custody for any signs of medical
distress, and if detected, act appropriately
and quickly.




                                                                  CCG001807
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         Stimulant Restraint Study
•   Rats injected w/ saline solution
•   None

    Rats injected w/ saline, and then restrained
    None

    Rats injected w/ cocaine
    17%

    Rats injected w/ cocaine and then restrained
    58%

•   Rats injected w/ cocaine and wrapped in porous plastic to prevent
    position reversals
•   100%

                                                                       CCG001808
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                  5 Action Steps
• Capture
                                                                   “pf
                                                                         'M


• Control

                                               si
• Contact EMS                                         .4ll   c7.
                                                      L




• Restrain                                 i




• EMS Transport

                                                                              CCG001809
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                  Actual Consent
• Someone who is injured while in your custody
  cannot refuse medical attention.
• Individuals in the custody of certified peace
  officers cannot give consent and therefore
  “implied consent” applies to these individuals.
• You are responsible for the safety and well­
  being of people in your custody.
• If you even think they may need medical
  attention, call EMS for assistance.
                                                                    CCG001810
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              Enabling Objectives
• The student will be familiar with the history of
  sudden in-custody deaths.
• The student will be familiar with recent court
  decisions regarding sudden in-custody deaths.
• The student will identify the behavioral cues of an
  individual that is considered high risk for a sudden
  in-custody death.
• The class will discuss the contemporary theories
  regarding sudden in-custody deaths.
• The student will list five action steps to follow
  when dealing with an individual that is considered
  high risk for a sudden in-custody death.

                                                                    CCG001811
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                 Any Questions?




                                                               CCG001812
